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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


PUFF CORPORATION,

                       Plaintiff,
                                                        C.A. No. _________________
       v.

KANDYPENS, INC.,                                        JURY TRIAL DEMANDED

                       Defendant.


                                          COMPLAINT

       Plaintiff Puff Corporation (“Puffco” or “Plaintiff”) hereby states its complaint against

Defendant Kandypens, Inc. (“Kandypens” or “Defendant”) for false advertising, unfair and

deceptive trade practices, and trade libel in violation of the Lanham Act, 15 U.S.C. § 1125(a),

Delaware’s Uniform Deceptive Trade Practices Act, 6 Del. C. § 2531 et seq., and Delaware

common law, and alleges as follows:

                                          THE PARTIES

   1. Plaintiff Puffco is a Delaware corporation with its principal place of business in Los

Angeles, California. Puffco manufactures, advertises, distributes and sells various types of

electronic vaporizers throughout the United States, including to consumers physically residing in

the State of Delaware and this judicial District.

   2. Upon information and belief, Defendant Kandypens is a Delaware corporation with its

principal place of business in Santa Barbara, California. Upon information and belief,

Kandypens can be served with process through its registered agent, Legalinc Corporate Services

Inc., 651 N. Broad Street, Suite 206, Middletown, Delaware 19709. A true and correct copy of




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information for Kandypens obtained online from the Delaware Secretary of State is attached as

Exhibit 1.

   3. Upon information and belief, Kandypens also manufactures, advertises, distributes, and

sells various types of electronic vaporizers throughout the United States, including to retailers

and consumers physically residing in the State of Delaware and this judicial District. By way of

example only, and as shown below in the screen shot of https://www.kandypens.com/stores/

(Kandypens’ webpage showing a list of dealers of Kandypens’ products in the State of

Delaware), Kandypens’ products have been and are sold in this judicial District at Crystal

Dragon in Dover, DE; Summit High Smoke Shop in Middletown, DE; All in One Smoke Shop in

Newark, DE; and Frolic on Main Street in Newark, DE:




A true and correct copy of this Kandypens webpage, last accessed on July 6, 2020, is attached as

Exhibit 2.


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   4. Upon information and belief, Kandypens owns, operates and controls the content on the

Instagram pages titled “puffcolawsuit” and “puffco.lawsuit”, available through the Instagram app

for mobile devices and online at:

       https://www.instagram.com/puffcolawsuit/?hl=en (“puffcolawsuit”); and

       https://www.instagram.com/puffco.lawsuit/?hl=en (“puffco.lawsuit”).

Upon information and belief, Kandypens owns or adopted the hashtag “#puffcolawsuit” and uses

this hashtag to post content and comments on its “puffcolawsuit” Instagram page, with the posts

made using the #puffcolawsuit hashtag also available through the Instagram app for mobile

devices and online at: https://www.instagram.com/explore/tags/puffcolawsuit/?hl=en. Kandypens

uses these Instagram pages and the hashtag to make the false advertising claims and engage in

the deceptive trade practices, unfair competition, and trade libel at issue in this action, and these

Instagram pages are directed to and accessible by actual and potential customers of Puffco and

Kandypens in the State of Delaware and this judicial District. See Exhibits 4 - 8.

                                 JURISDICTION AND VENUE

   5. This Court has original subject matter jurisdiction over Plaintiff’s federal claims in this

action pursuant to Section 39 of the Lanham Act, 15 U.S.C. §§ 1121(a) and 1125(a), and 28

U.S.C. §§ 1331 and 1338. This Court has supplemental jurisdiction over the asserted state law

claims pursuant to 28 U.S.C. §§ 1338 and 1367(a) because they form part of the same case or

controversy.

   6. This Court has both general and specific personal jurisdiction over Defendant Kandypens

because, upon information and belief: (a) Kandypens is a Delaware corporation subject to

general jurisdiction in the State of Delaware and this judicial District; (b) Kandypens regularly

conducts business in the State of Delaware and this judicial District; (c) Kandypens has




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committed acts of false advertising, deceptive trade practices, and trade libel in the State of

Delaware and this judicial District, and Plaintiff’s claims arise out of such acts; and (d) Plaintiff

is a resident of the State of Delaware and has suffered harm in the State of Delaware and this

judicial District from Defendant’s unlawful actions, whether committed in or outside of the State

of Delaware and this judicial District.

   7. Venue is proper in this judicial District pursuant to 28 U.S.C. § 1391 because Kandypens

is incorporated in and therefore resides in the State of Delaware for purposes of § 1391.

                                  FACTUAL BACKGROUND

   A. Puffco and Its Business and Products

   8. Puffco is an award-winning manufacturer of a variety of electronic vaporizer products.

Since the company’s launch in 2013, Puffco has become one of the most well-known brands in

the electronic vaporizer industry. Puffco owns several United States Trademark Registrations for

its PUFFCO® mark or variations thereof, including: U.S. Reg. No. 4,856,420; U.S. Reg. No.

4,945,314; U.S. Reg. No. 4,908,874; and U.S. Reg. No. 5,341,414.

   9. One of Puffco’s most successful products is the PEAK® vaporizer, an electrically-

powered oral vaporizer for vaporizing oils, concentrates and other plant-derived extracts for

personal inhalation. Puffco owns the PEAK® trademark, including United States Trademark

Registration No. 5,656,606.

   10. Puffco also owns several United States patents and patent applications related to its

products, including U.S. Patent No. 10,517,334 and U.S. Patent No. D882867, as well as other

issued patents and a number of pending patent applications. Puffco also owns the distinctive

trade dress for its PEAK® vaporizers.




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   11. Puffco invested significantly in the development of its products and brands, including the

PUFFCO® and PEAK® brands and products. The reputation and goodwill associated with

Puffco and its products, along with the various intellectual property owned by and associated

with Puffco and its products, are extremely important and valuable assets of Puffco.

   12. Puffco has also invested significant amounts of money and substantial effort in the

nationwide advertising and promotion of the company and its products, including its PEAK®

vaporizers, which has resulted in great commercial success. For example, since January 15,

2018, Puffco has sold approximately 245,000 PEAK® vaporizers resulting in estimated

aggregate sales revenue of nearly $55 Million dollars.

   13. Social media is an important means of advertising in the electronic vaporizer field,

including advertising through Instagram. Puffco uses social media to advertise and promote its

business and its PUFFCO® and PEAK® brand products, including via its official Instagram

page, available at https://www.instagram.com/puffco/?hl=en, which has over 358,000 followers.

   14. Puffco’s products, including its PEAK® vaporizer, have been continuously sold in U.S.

commerce nationwide directly from Puffco’s online retail store and through third party retailers,

who distribute the products through online retail stores and physical retail locations.

   15. Important material factors in a consumer’s purchasing decision when considering

electronic vaporizers include the design and reliability of the vaporizer, product warranties, and

the reputation of the company that is the source of the vaporizer. The relative design and

reliability of a vaporizer are indicative of the inherent quality of that particular vaporizer.




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   B. Defendant’s Business and Illegal Competition and Unfair Trade Practices

               1)      Kandypens is a Competitor in the Electronic Vaporizer Market

   16. Upon information and belief, Kandypens manufactures, advertises, distributes, and sells

various types of electronic vaporizers throughout the United States.

   17. Puffco and Kandypens are direct competitors in the electronic vaporizer market, and their

vaporizer products are marketed and sold to the same consumers.

   18. Kandypens advertises its competing vaporizer products, including online via its website

https://www.kandypens.com, and via social media platforms, including Instagram. Kandypens’

official Instagram page is available at https://www.instagram.com/kandypens/#, and is

conspicuously branded and identified as originating from Kandypens as shown below:




A true and correct copy of this Kandypens Instagram page is attached as Exhibit 3.

               2)      Kandypens’ False Advertising, Unfair Competition, and Trade Libel

   19. Apparently recognizing that Puffco is the market leader with the dominant market share

of electronic vaporizer products, Kandypens has resorted to unfair and illegal practices to try to

take vaporizer sales and market share away from Puffco, in hopes of capturing some of those

diverted sales and market share for itself.




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   20. As detailed in subsections a) and b) below, Defendant has made and is making a number

of false advertising and disparaging claims against Puffco and its PEAK® vaporizers, which are

literally false on their face and/or by necessary implication.

                       a)      False and Disparaging Claims that Puffco and Its PEAK®
                               Vaporizers are Subject to a Pending Class Action Lawsuit

   21. On information and belief, Kandypens orchestrated the filing of a class-action lawsuit

against Puffco in the action styled Jacob Anderson, on behalf of himself and all others similarly

situated v. Puff Corp., U.S.D.C. District of Arizona, Civil Action No. 2:19-cv-02126-DLR (the

“Class Action Lawsuit”), with the named plaintiff Mr. Anderson an employee or otherwise

affiliated with Kandypens and Kandypens the driving force behind the Class Action Lawsuit.

The complaint in the Class Action Lawsuit was filed on March 29, 2019 and alleged that

Puffco’s PEAK® vaporizers were defective and that Puffco did not honor its warranties on the

PEAK® vaporizers, and accused Puffco of fraud and breaching statutory, express and implied

warranties. See Exhibit 9.

   22. Upon information and belief, sometime in 2019 before the Class Action Lawsuit was

filed, Kandypens created an Instagram page with the title and user name “puffcolawsuit.” The

“puffcolawsuit” Instagram page is available on the Instagram mobile app and online at

https://www.instagram.com/puffcolawsuit/?hl=en.        The       “puffcolawsuit”   Instagram   page

repeatedly uses the hashtags “#puffcolawsuit”, “#puffco”, and “#puffcopeak”. As of July 9,

2020, the “puffcolawsuit” Instagram page had 154 posts by Kandypens and had 2,813 followers

on Instagram and, upon information and belief, has been viewed by an even larger number of

consumers. Exhibit 4 is a true and correct copy of a printout of the “puffcolawsuit” Instagram

page, and Exhibit 5 is a true and correct copy of screen shots of certain posts on the

“puffcolawsuit” Instagram page.



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   23. On information and belief, at or around the time of setting up its first “puffcolawsuit”

Instagram page, Kandypens created or adopted the hashtag “#puffcolawsuit”, which Kandypens

uses to post content and make comments on its “puffcolawsuit” Instagram page. Kandypens’

posts and comments made using the “#puffcolawsuit” hashtag are available on Instagram in

aggregate form and may be viewed via the Instagram mobile app and online at

https://www.instagram.com/explore/tags/puffcolawsuit/?hl=en. As of July 9, 2020, the

“#puffcolawsuit” hashtag had been used by Kandypens to make 144 posts. Exhibit 6 is a true and

correct copy of a printout of the aggregate of Kandypens’ posts made using the “#puffcolawsuit”

hashtag, and Exhibit 7 is a true and correct copy of screen shots of certain posts made using the

“#puffcolawsuit” hashtag.

   24. On information and belief, sometime after setting up its first puffcolawsuit Instagram

page, Kandypens created a second Instagram page with the title and user name “puffco.lawsuit.”

The “puffco.lawsuit” Instagram page is available on the Instagram mobile app and available

online at https://www.instagram.com/puffco.lawsuit/?hl=en. As of July 9, 2020, the

“puffco.lawsuit” Instagram page had 62 followers but did not have any posts. A true and correct

copy of a printout of the “puffco.lawsuit” Instagram page is attached as Exhibit 8.

   25. On information and belief, Kandypens’ founder and CEO, Graham Gibson, registered for

the “puffcolawsuit” and “puffco.lawsuit” user names and the “#puffcolawsuit” hashtag using his

official Kandypens email address and created or directed the creation of the “puffcolawsuit” and

“puffco.lawsuit” Instagram pages and posts under the “#puffcolawsuit” hashtag, all on behalf of

and for the benefit of Defendant Kandypens.

   26. The “puffcolawsuit” and “puffco.lawsuit” Instagram pages and “#puffcolawsuit” hashtag

posts are collectively referred to herein as the “Kandypens’ Advertising Materials.”




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   27. The “puffcolawsuit” Instagram page comprising part of Kandypens’ Advertising

Materials includes the following header:




Exhibit 4 at p.1.

   28. The www.classaction.org/media/anderson-v-puff-corporation.pdf link in the header of the

“puffcolawsuit” Instagram page is an active Internet link that takes viewers to a copy of the

complaint in the Class Action Lawsuit. A screenshot of the first page from this link is below:




A true and correct copy of the complaint at the link on Kandypens’ “puffcolawsuit” Instagram

page is attached as Exhibit 9.


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   29. The aggregate page for Kandypens’ Instagram posts made under the “#puffcolawsuit”

hashtag includes this header:




Exhibit 6 at p. 1. It does not include a link to the Class Action Lawsuit, but it includes copies of

the posts by Kandypens that are made on its “puffcolawsuit” Instagram page using the

#puffcolawsuit hashtag. Compare Exhibits 4 & 5 with Exhibits 6 & 7.

   30. Kandypens’ second Instagram page, titled “puffco.lawsuit”, includes the following

header:




Exhibit 8. It does not include a link to the Class Action Lawsuit complaint, but nevertheless

refers to the Class Action Lawsuit as it claims to be “[t]he new homepage for the puffco

lawsuit.” Id.

   31. The Class Action Lawsuit was voluntarily dismissed on August 6, 2019 and the case

terminated by the U.S. District Court for the District of Arizona on August 7, 2019. A true and

correct copy of the PACER Docket Sheet for the Class Action Lawsuit and the plaintiffs’ Notice

of Voluntary Dismissal are attached as Exhibit 10. The dismissal and termination of the Class



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Action Lawsuit came after Puffco appeared in the action and moved to dismiss the case for lack

of jurisdiction and failure to state a claim for relief. Rather than address the merits of their

claims, the plaintiffs chose to dismiss their case. Id., Docket Sheet at Docket Entries 11, 16 & 17.

   32. Since the dismissal and termination of the Class Action Lawsuit, the plaintiffs have not

re-filed their case or claims and there are no other class action lawsuits against Puffco.

Accordingly, since August 7, 2019 there have been no class action claims or lawsuits pending

against Puffco.

   33. Kandypens knew the Class Action Lawsuit was dismissed in early August 2019, but

nevertheless continued to operate and maintain its two puffcolawsuit Instagram pages and its

“#puffcolawsuit” posts comprising Kandypens’ Advertising Materials, keeping the existing

references to the Class Action Lawsuit, including the link to the complaint, and adding additional

posts about the lawsuit and about Puffco and its products. Although no posts have been added to

the “puffco.lawsuit” Instagram page, Kandypens has continued using its “#puffcolawsuit”

hashtag and regularly added new posts to its “puffcolawsuit” Instagram page, allowed people to

add comments to those posts, and responded to some of those third-party comments. As of July

9, 2020, the latest post made by Kandypens to its “puffcolawsuit” Instagram page was added on

June 30, 2020. Exhibit 4; Exhibit 5 at p. 1; Exhibit 6; Exhibit 7 at p. 1.

   34. For example, Defendant added the following post to its Kandypens’ Advertising

Materials on October 9, 2019:




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This includes the statement “No wonder Puffco’s facing a lawsuit”, which is literally false and

disparaging because the Class Action Lawsuit had been dismissed two months earlier. Defendant

continues to publish this statement in its Kandypens’ Advertising Materials. Exhibit 5 at p. 5;

Exhibit 7 at p. 5.

    35. Kandypens continues to falsely assert that there is a class action lawsuit pending against

Puffco and its PEAK® vaporizers through its other postings and statements published in its

Kandypens’ Advertising Materials. This includes the following posts made on June 30, 2020,

May 30, 2020, April 29, 2020, and April 23, 2020, indicating that people wanted to join the

Class Action Lawsuit, with Kandypens failing to disclose the fact that there was no longer any

such lawsuit; to the contrary, Kandypens’ postings make the literally false and disparaging

assertion that there is a class action lawsuit pending against Puffco when there is not:




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    (i)    Posted June 30, 2020




    (ii)   Posted May 30, 2020




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    (iii)   Posted April 29, 2020




    (iv)    Posted April 23, 2020




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Exhibit 5 at pp. 1-4; Exhibit 7 at p. 1-4.

   36. Kandypens also fails to disclose that it is the source and publisher of the Kandypens’

Advertising Materials. Instead, Kandypens makes explicit references to the plaintiff’s counsel in

the Class Action Lawsuit and uses the pronoun “We” in several statements throughout its

“puffcolawsuit” Instagram page and “#puffcolawsuit” hashtag posts, resulting in the necessary,

but false, implication that the attorneys and/or plaintiffs in the Class Action Lawsuit are

responsible for Kandypens’ Advertising Materials when in truth a Puffco competitor is behind it

all. Exhibit 5 at pp. 7-11; Exhibit 7 at pp. 7-11.

                       b)      False and Disparaging Claims that Puffco’s PEAK®
                               Vaporizers are Defective, Puffco Provides Poor Customer
                               Service, and Puffco Does Not Honor Warranties for Its
                               PEAK® Vaporizers Or Provide a Warranty on Its Atomizers.

   37. Kandypens’ Advertising Materials also make the literally false and disparaging

statements that Puffco’s PEAK® vaporizer is a defective product, that Puffco provides poor

customer service, and that Puffco does not honor its warranties on the PEAK® vaporizers.

   38. Such literally false and disparaging statements by Kandypens include the following

explicit statement at the beginning of the “puffcolawsuit” Instagram page:




Exhibit 4 at p. 1. And the following statement at the top of the “#puffcolawsuit” hashtag

page:




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(“How woke can you be when knowingly selling a defective product?”). Exhibit 6 at p. 1.

      39. Other examples from Kandypens’ Advertising Materials include the literally false and

disparaging statements that Puffco does not honor its warranty for PEAK® vaporizers unless the

customer paid the full retail price for the product, which is not true. Kandypens posts these

statements on its “puffcolawsuit” Instagram page using the “#puffcolawsuit” hashtag as follows:




and




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Exhibit 5 at pp. 12-13; Exhibit 7 at pp. 12-13. Kandypens’ Advertising Materials also include the

literally false and disparaging statement that Puffco does not provide a warranty on the atomizer

component of its PEAK® vaporizers when in fact the atomizers have a one month warranty.

                3)     Kandypens’ Challenged Claims are Statements of Fact and Constitute
                       Commercial Advertising

   40. The unambiguous statements, messages, and gist of Kandypens’ Advertising Materials

are not opinions, but instead are asserted statements of facts that are literally false on their face

and/or by necessary implication and disparage Puffco and its products.

   41. Alternatively, if the claims in Kandypens’ Advertising Materials are not literally false,

such claims are nevertheless implicitly false, deceptive and misleading, and disparage Puffco and

its products.

   42. Kandypens’ Advertising Materials are commercial advertising. Defendant’s statements

in its Kandypens’ Advertising Materials constitute commercial speech, are made by a competitor

of Puffco, and are intended to and made for the purpose of influencing consumers not to

purchase Puffco’s vaporizers and instead purchase other vaporizers like those of Kandypens.



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Further, Kandypens’ Advertising Materials are widely available, as they are available without

restriction on the Internet and through the Instagram app and have nearly 3,000 followers; they

are also published to consumers of vaporizers, including Puffco customers, as shown by some of

the viewer comments to Kandypen’s numerous posts on its “puffcolawsuit” Instagram page.

                4) The False Kandypens’ Advertising Materials Materially Influence
                   Consumer Purchasing Decisions, Deceives Consumers, and Are Harming
                   Puffco

   43. Kandypens is publishing and disseminating its Kandypens’ Advertising Materials to

consumers and potential consumers of electronic vaporizer products, including customers and

potential customers of Puffco’s PEAK® vaporizers and other Puffco brand vaporizers.

   44. Defendant’s false, deceptive and misleading claims in its Kandypens’ Advertising

Materials have and are, or are likely to, deceive consumers of electronic vaporizers and, by doing

so, influence their purchasing decisions.

   45. Defendant’s false, deceptive and misleading claims in its Kandypens’ Advertising

Materials speak to and address inherent qualities and characteristics of Puffco’s vaporizers, and

specifically Puffco’s PEAK® brand vaporizers, namely their design, functionality, quality of

workmanship, and warranty coverage, and also speak to and address the reputation of Puffco and

its products.

   46. Defendant’s false, deceptive and misleading claims are material to consumers who

purchase vaporizers and who are considering whether to purchase a Puffco vaporizer, including

the Puffco PEAK® vaporizers, or whether to purchase competing vaporizers like those of

Kandypens.

   47. Defendant’s conduct is causing irreparable harm to Puffco’s reputation and the reputation

of its PEAK® vaporizers and other products. Defendant’s false, deceptive and misleading claims




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taint the Puffco and PEAK® brand names and the reputation of Puffco’s vaporizer products and

thereby compromise Puffco’s ability to effectively market and sell these products in the future.

   48. Defendant’s conduct has caused and will continue to cause Puffco to suffer damages,

including, but not limited to, lost sales, lost profits, and damaged goodwill, as well as legal

expenses, including costs and attorneys’ fees.

               5)     Kandypens’ Conduct Is Knowing, Intentional, Willful and Malicious

   49. On information and belief, Kandypens has engaged in the conduct at issue with reckless

disregard of Puffco’s rights, and/or has engaged in such conduct intentionally, willfully, and

maliciously with knowledge that the claims being made are false, deceptive, misleading, and

disparaging and with the intention to harm Puffco and to deceive consumers. On information and

belief, Defendant has further engaged in the conduct at issue with the intent to divert sales of

vaporizer products from Puffco so that Kandypens can instead obtain all or a portion of those

sales, with Kandypens directly profiting from such ill-gotten sales.

   50. The knowing, intentional, willful, and malicious nature of Defendant’s false advertising,

deceptive trade practices, and trade libel carried out through Kandypens’ Advertising Materials

is further shown by and consistent with Kandypens’ and its principal Gibson’s pattern and

practice of unfair competition, both against Puffco and others. By way of example:

       •   Gibson was sued by the Federal Trade Commission for false advertising, including

           charging customers for “free” trials, and saying his products had been endorsed by

           Oprah Winfrey and Rachael Ray when they had not, which Gibson settled with the

           FTC in 2012 and agreed to pay the agency $1.5 million.




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    •   Kandypens has infringed on Puffco’s patent rights, forcing Puffco to assert

        counterclaims to enforce its rights and defend its patent. See Kandypens, Inc. v. Puff

        Corp., 2:20-cv-00358 (C.D. Cal.).

    •   Kandypens has copied the PUFFCO PRO® vaporizing pen with a product named

        after Puffco’s founder and CEO, Roger Volodarsky, naming the product to refer to

        him (“The R.O.G.”) and using his likeness in social media advertisements for that

        Kandypens knock-off product:




        and flaunting such copying by acquiring and then returning disassembled Puffco

        products to Puffco with a handwritten note from Kandypens’ Gibson on his business

        card stating “Thanks for the inspiration pal!”:




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    •   Kandypens has intentionally misappropriated and copied the design of Puffco’s

        distinctive trade dress for its PEAK® vaporizer, forcing Puffco to pursue litigation to

        enforce its rights. See Puff Corporation v. Kandypens, Inc., 3:20-cv-333 (W.D.N.C.).

    •   Kandypens has been sued by a third-party for counterfeiting and selling products that

        falsely bear the UL® certification mark without any such certification or testing by

        UL, LLC in UL LLC v. AFG Distribution, Inc., 19-cv-2724 (N.D. Ill).

    •   Kandypens and Gibson have been sued by a third-party for trademark infringement in

        Waxxy Vapir, Inc. v. Gibson et al., 0:16-cv-60298-WJZ (S.D. Fla.).




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                                      CAUSES OF ACTION

  COUNT I-FALSE ADVERTISING UNDER SECTION 43(a) OF THE LANHAM ACT
                          (15 U.S.C. §1125(a))

    51. Puffco repeats and realleges each of the allegations contained in paragraphs 1 through 50

above as if fully set forth herein.

    52. Puffco’s PEAK® vaporizers and Kandypens’ competing vaporizers are sold in interstate

commerce in the United States.

    53. Kandypens’ Advertising Materials have been and are published, disseminated and

discussed in interstate commerce.

    54. Kandypens’ Advertising Materials are literally false and misleading.

    55. When considered in full context, Kandypens’ Advertising Materials falsely and explicitly

state and/or falsely state by necessary implication that:

        •   Puffco and its PEAK® products are the subject of an ongoing class action lawsuit,

            when that is not true and the only such lawsuit was dismissed in early August 2019.

        •   There is an ongoing class action against Puffco for its PEAK® products that

            consumers can join, which is not true.

        •   Puffco and its PEAK® products are facing ongoing claims for fraud and breach of

            warranties for a defective product and not honoring warranties, which is not true.

        •   The “puffcolawsuit” Instagram page and its source are dedicated to protecting Puffco

            customers and originates from the attorneys and/or plaintiffs in the Class Action

            Lawsuit or someone other than a Puffco competitor, when the truth is the page is a

            means of false advertising, deceptive trade practices and unfair competition, and trade

            libel by Puffco competitor Kandypens.




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       •   Puffco’s products, including its PEAK® vaporizers, are defective, when in truth they

           are high quality, market-leading products.

       •   Puffco provides poor customer service, which is not true.

       •   Puffco’s warranties only apply if customers paid the full retail price for the PEAK®

           vaporizers, and the atomizers of the PEAK® vaporizers are not covered by any

           warranty, which is not true.

   56. Kandypens’ Advertising Materials and Defendant’s literally false and misleading

advertising are likely to deceive consumers of vaporizers.

   57. Kandypens’ Advertising Materials and Defendant’s literally false and misleading

advertising speak to and address inherent qualities and characteristics of Puffco’s vaporizers,

namely their design, reliability, functionality, and quality of workmanship, and are likely to

influence customers’ decisions in purchasing vaporizers, and materially affect purchasing

decisions by relevant consumers.

   58. Kandypens’ Advertising Materials and Defendant’s literally false and misleading

advertising has caused and will continue to cause irreparable harm to Puffco. Unless Defendant

is enjoined from continuing its unlawful false advertising, Puffco will suffer irreparable harm.

   59. As a direct and proximate result of Kandypens’ Advertising Materials and Defendant’s

literally false and misleading advertising, Puffco has suffered damages in an amount to be

determined at trial.

   60. Kandypens’ Advertising Materials and Defendant’s literally false and misleading

advertising and promotion in interstate commerce constitutes false advertising in violation of

Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).




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    61. Pursuant to Section 34 of the Lanham Act, 15 U.S.C. § 1116, Puffco is entitled to

preliminary and permanent injunctive relief to prevent damage to Puffco and to prohibit

Defendant from further violations of Section 43(a) of the Lanham Act as further set forth in the

Prayer for Relief below. Puffco is also entitled to equitable relief in the form of affirmative

corrective advertising by Defendant.

    62. Pursuant to Section 35 of the Lanham Act, 15 U.S.C. § 1117(a), Puffco is entitled to

monetary damages, corrective advertising costs, Defendant’s profits, costs, and prejudgment

interest.

    63. This is an exceptional case under Section 35 of the Lanham Act, 15 U.S.C. § 1117(a),

entitling Puffco to recover its attorneys’ fees and up to three times its actual damages.

    64. Pursuant to Section 36 of the Lanham Act, 15 U.S.C. § 1118, Puffco is entitled to a

destruction order requiring that all advertisements in Defendant’s possession or control bearing

the false or misleading descriptions or representations be delivered up and destroyed.

 COUNT II-VIOLATION OF THE UNIFORM DECEPTIVE TRADE PRACTICES ACT
                  OF DELAWARE (6 Del. C. §§ 2531 - 2536)

    65. Puffco repeats and realleges each of the allegations contained in paragraphs 1 through 64

above as if fully set forth herein.

    66. Kandypens’ Advertising Materials represent that Puffco’s vaporizer products have

characteristics, uses, or benefits that they do not have.

    67. Kandypens’ Advertising Materials represent that Puffco’s vaporizer products are of a

particular standard, quality, or grade that they are not. More specifically, Defendant’s

representations are that Puffco’s vaporizers are of a lower standard, quality, and grade than they

actually are.




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    68. Kandypens’ Advertising Materials disparage Puffco’s vaporizer products by making false

or misleading factual representations.

    69. Kandypens’     Advertising     Materials   create   a   likelihood   of   confusion   or   of

misunderstanding about Puffco and Puffco’s vaporizers.

    70. Defendant’s false, deceptive, misleading and disparaging advertising and promotional

activities violate Delaware’s Uniform Deceptive Trade Practice Act, 6 Del. C. § 2532, including

subsections (a)(5), (a)(7), (a)(8), and (a)(12).

    71. Defendant has published and disseminated Kandypens’ Advertising Materials containing

false, deceptive, misleading and disparaging representations to the public with the intent to cause

Puffco to lose sales and business, and with the intent to increase Kandypens’ business and sales

of competing products as a result. Puffco has suffered pecuniary loss as a direct and proximate

result of Defendant’s unlawful activities.

    72. Defendant’s unlawful activities have caused, and will continue to cause, irreparable harm

to Puffco. Unless Defendant is enjoined from continuing its unlawful activities, Puffco will

continue to suffer irreparable harm.

    73. Pursuant to 6 Del. C. § 2533(a), Puffco is entitled to preliminary and permanent

injunctive relief against Defendant.

    74. Defendant’s deceptive trade practices have been knowing, intentional and willful, making

this an exceptional case. Pursuant to 6 Del. C. § 2533(b), Puffco is entitled to its attorneys’ fees

and costs of this action.

    75. Pursuant to 6 Del. C. § 2533(c), Puffco is entitled to an award of treble damages because

Puffco is entitled to recover actual damages under the common law or other statutes of the State

of Delaware (see Count III).




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            COUNT III-TRADE LIBEL UNDER DELAWARE COMMON LAW

    76. Puffco repeats and realleges each of the allegations contained in paragraphs 1 through 75

above as if fully set forth herein.

    77. Kandypens’ Advertising Materials contain several false and disparaging statements about

Puffco and its products, including Puffco’s PEAK® vaporizers.

    78. Defendant published the false and disparaging statements in Kandypens’ Advertising

Materials with the intent to harm Puffco and cause Puffco pecuniary loss. Given the nature of its

statements, Defendant reasonably should recognize that publication of its false and disparaging

statements would result in harm and pecuniary loss to Puffco.

    79. Puffco has suffered pecuniary loss as a direct and proximate result of Defendant’s

unlawful activities.

    80. Defendant knew that its statements in its Kandypens’ Advertising Materials were false.

Alternatively, Defendant made some or all of its false statements in its Kandypens’ Advertising

Materials in reckless disregard of the truth or falsity of those statements.

    81. Defendant’s false and disparaging statements about Puffco and its products in

Kandypens’ Advertising Materials constitute unlawful trade libel in violation of Delaware

common law.

    82. Defendant’s unlawful trade libel was committed, and continues to be committed, as part

of its unfair competition against Puffco.

    83. Defendant’s unlawful activities have caused, and will continue to cause, irreparable harm

to Puffco. Unless Defendant is enjoined from continuing its unlawful activities, Puffco will

continue to suffer irreparable harm. Accordingly, Puffco is entitled to preliminary and permanent

injunctive relief against Defendant.




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   84. As a direct and proximate result of Kandypens’ Advertising Materials and Defendant’s

trade libel, Puffco has suffered damages in an amount to be determined at trial.

                                             PRAYER

       WHEREFORE, Puffco prays for judgment against Kandypens and relief as follows:

       (1)     That the Court enter judgment that Defendant Kandypens has engaged in false

advertising in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a); has engaged in

unfair methods of competition and unfair or deceptive acts or practices in violation of

Delaware’s Uniform Deceptive Trade Practices Act, 6 Del. C. § 2532; and has engaged in trade

libel in violation of Delaware common law;

       (2)     On Count I, that Puffco be awarded monetary damages; corrective advertising

costs; disgorgement of Defendant’s profits; enhanced damages; Puffco’s attorneys’ fees;

Puffco’s costs; preliminary and permanent injunctive relief prohibiting Kandypens, and its

employees, officers, directors, agents, representatives, attorneys, successors, and assigns, and all

persons in active concert or participation with any of them, from further violations of the

Lanham Act and permanent injunctive relief requiring Defendant to disseminate corrective

advertising materials, including an order directing Defendant to file with the Court and serve on

Puffco within thirty days after entry of the injunction a written report, under oath, setting forth in

detail the manner and form in which Defendant has complied with the injunction; and a

destruction order requiring that Defendant deliver up and destroy all advertising and promotional

materials deemed false, deceptive, and/or misleading;

       (3)     On Count II, that Puffco be granted preliminary and permanent injunctive relief

prohibiting further violations of Delaware’s Uniform Deceptive Trade Practices Act, 6 Del. C.

§ 2532; trebling of Puffco’s actual damages awarded for Defendant’s violations of other




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